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             EXHIBIT 19
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                                                                           Page 1
                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK
                MASTER DOCKET 18-MD-2865(LAK)
                    CASE NO. 18-CV-09797

_______________________________________
                                       )
IN RE:                                 )
                                       )
CUSTOMS AND TAX ADMINISTRATION OF      )
THE KINGDOM OF DENMARK                 )
(SKATTEFORVALTNINGEN) TAX REFUND       )
SCHEME LITIGATION                      )
                                       )
_______________________________________)




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        *                                  *
        *           CONFIDENTIAL           *
        *                                  *
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    REMOTE VTC VIDEOTAPED DEPOSITION UNDER ORAL
                   EXAMINATION OF
                    JENS BROCHNER
                DATE: April 29, 2021




 REPORTED BY:    MICHAEL FRIEDMAN, CCR



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                                                   Page 2                                                          Page 4
 1                 TRANSCRIPT of the videotaped deposition    1   A P P E A R A N C E S:
                                                              2
 2    of the witness, called for Oral Examination in the          KOSTELANETZ & FINK
 3    above-captioned matter, said deposition being taken     3   250 Greenwich Street
                                                                  New York, NY 10007
 4    by and before MICHAEL FRIEDMAN, a Notary Public and     4   BY: NICHOLAS H. BAHNSEN, ESQ.
                                                                        BRYAN C. SKARLATOS, ESQ.
 5    Certified Court Reporter of the State of New Jersey,    5         CAROLINE CIRAOLO, ESQ.
 6    via WEBEX, ALL PARTIES REMOTE, on April 29, 2021,                 ERIC SMITH, ESQ.
                                                              6         DANIEL DAVIDSON, ESQ.
 7    commencing at approximately 6:05 in the morning,                  SHARON L. MCCARTHY, ESQ.
                                                              7         JULIET L. FINK, ESQ.
 8    EST, and 12:00 p.m., Denmark time.                                Via VTC
 9                                                            8   Attorneys for Azalea, et al
                                                              9
10                                                                K&L GATES
11                                                           10   One Lincoln Street
                                                                  Boston, MA 02111
12                                                           11   BY: JOHN GAVIN, ESQ.
                                                                        BRANDON DILLMAN, ESQ.
13                                                           12         DAVID FINE, ESQ.
14                                                                      JOHN BLESSINGTON, ESQ.
                                                             13         MOLLY MAIDMAN, ESQ.
15                                                                      ANNA E. L'HOMMEDIEU, ESQ.
                                                             14         Via VTC
16                                                                Attorneys for Alexander Jamie Mitchell, et al
17                                                           15
                                                             16
18                                                                GUSRAE, KAPLAN & NUSBAUM
19                                                           17   120 Wall Street
                                                                  New York, NY 10005
20                                                           18   BY: KARI PARKS, ESQ.
                                                                        MARTIN H. KAPLAN, ESQ.
21                                                           19         Via VTC
22                                                                Attorneys for Goldstein
                                                             20
23                                                           21
                                                             22
24                                                           23
25                                                           24
                                                             25


                                                   Page 3                                                          Page 5
1    A P P E A R A N C E S:                                  1    A P P E A R A N C E S:
2                                                            2
     HUGHES, HUBBARD & REED                                       WILMER HALE
3    One Battery Park Plaza                                  3    7 World Trade Center - 250 Greenwich Street
     New York, NY 10004                                           New York, NY 10007
4    BY:   NEIL OXFORD, ESQ.                                 4    BY:   ALAN SCHOENFELD, ESQ.
           BILL MAGUIRE, ESQ.                                           MICHAEL BONGIORNO, ESQ.
5          MARC A. WEINSTEIN, ESQ.                           5          CARY GLYNN, ESQ.
           CAROLYN HARBUS, ESQ.                                         JULIA C. PILCER, ESQ.
6          JAMES HENSELER, ESQ.                              6          RACHEL CRAFT, ESQ.
           JOHN MCGOEY, ESQ.                                            ANDREW DULBERG, ESQ.
7          VALERIE CAHAN, ESQ.                               7          Via VTC
           ERIN PAMUKCU, ESQ.                                     Attorneys for Avanix, et al
8          VICTOR SANDOVAL, ESQ.
           MAUREEN HOWLEY, ESQ.                               8
9          GREGORY FARRELL, ESQ.                              9
           ELIZABETH ZHOU, ESQ.                              10   BINDER & SCHWARTZ
10         Via VTC                                                366 Madison Avenue
     Attorneys for SKAT                                      11   New York, NY 10017
11                                                                BY:   NEIL S. BINDER, ESQ.
12   HANAMIRIAN LAW FIRM                                     12         GREGORY C. PRUDEN, ESQ.
     40 E. Main Street                                                  WENDY H. SCHWARTZ, ESQ.
13   Moorestown, NJ 08057                                    13         M. TOMAS MURPHY, ESQ.
     BY:   JOHN M. HANAMIRIAN, ESQ.                                     Via VTC
14         ELZA GRIGORYAN                                    14   ATTORNEYS for ED&F Man
           Via VTC                                           15
15   Attorneys for Acorn Capital                                  DEWEY, PEGNO & KRAMARSKY
16                                                           16   777 Third Avenue
     CAPLIN & DRYSDALE                                            New York, NY 10017
17   600 Lexington Avenue                                    17   BY:   SEAN MULLEN, ESQ.
     New York, NY 10022                                                 DAVID PEGNO, ESQ.
18   BY:   ZHANNA A. ZIERING, ESQ.                           18         THOMAS E.L. DEWEY, ESQ.
           MARK ALLISON, ESQ.                                           Via VTC
19         Via VTC                                           19   Attorneys for Michael Ben-Jacob
     Attorneys for Klugman                                   20
20                                                                WILLIAMS & CONNOLLY
21                                                           21   725 12th STREET, NW
     KAPLAN RICE                                                  Washington, DC 20005
22   142 West 57th Street                                    22   BY:   AMY B. MCKINLAY, ESQ.
     New York, NY 10019                                                 STEPHEN D. ANDREWS, ESQ.
23   BY:   Y. KATIE WANG, ESQ.                               23         Via VTC
           MICHELLE RICE, ESQ.
24         Via VTC                                                Attorneys for Sander Gerber Pension Plan
     Attorneys for Albedo, et al                             24
25                                                           25



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1    A P P E A R A N C E S:                                   1                            I N D E X
2                                                             2   WITNESS NAME                                PAGE
3    KATTEN
     575 Madison Avenue                                       3   JENS BROCHNER
4    New York, NY 10022                                       4
     BY:    DAVID GOLDBERG, ESQ.                              5   Examination By:
5           MICHAEL ROSENAFT, ESQ.                            6                      Mr. Schoenfeld             12
            Via VTC                                           7
6    Attorneys for Klugman                                    8
7
     SEWARD & KISSEL                                          9                         E X H I B I T S
8    One Battery Park Plaza                                  10   BROCHNER NO.                                PAGE
     New York, NY 10004                                      11   3000              Document                    17
9    BY:   SHREY SHARMA, ESQ.                                12   3001              SKAT_MDL 521663 -           54
           THOMAS R. HOOPER, ESQ.                                                   521666
10         MARK J. HYLAND, ESQ.
           Via VTC                                           13
11   Attorneys for Bernard Tew                                    3003              SKAT_MDL 281058 -           89
12                                                           14                     281080
     LAW OFFICES OF SHELDON S. TOLL                          15   3005              SKAT_MDL 278652 -          102
13   2000 Town Center                                                               278659
     Southfield, MI 48075
14   BY:   SHELDON S. TOLL, ESQ.                             16
           Via VTC                                                3009              SKAT_MDL 281103 -          114
15   Attorneys for Hoffmeister                               17                     281120
16                                                           18   3008              SKAT_MDL 75124 - 75161     134
     MORVILLO, ABROMOWITZ, GRAND, IASON & ANELLO             19   3027              SKAT_MDL 281191 -          137
17   565 5th Avenue
     New York, NY 10017                                                             281194
18   BY:   RICHARD WEINBERG, ESQ.                            20
     Attorneys for Clove Pension Plan, Mill River                 3021              SKAT_MDL 521041 -          142
19   Pension Plan, Traden Investment Pension Plan            21                     521042
20                                                           22   3012              SKAT_MDL 420463 -          153
21                                                                                  420473
22
23                                                           23
24                                                           24
25                                                           25

                                                    Page 7                                                    Page 9
 1    ALSO PRESENT: JOSE RIVERA, Videographer                 1                                - - -
 2                  KIRSTEN MARIE DONATO, ESQ.                2                      Deposition Support Index
                    KAMMERADVOKATEN POUL SCHMITH              3                                - - -
 3                                                            4
                          THOMAS SPILLER                      5   Direction to Witness Not to Answer
 4                        ROSENBLATT LAW                      6   Page Line      Page Line      Page Line
 5                        KATRINE HOVGAARD BØEGH, ESQ.
 6                        CHRISTINE P. VINTHOR                7   None
 7                        CHRISTIAN BØLOW                     8
 8                        MARISE HØRBY SALVESEN               9   Request for Production of Documents
 9                        ANNE CHRISTINE K. EGHOLM           10   Page Line     Page Line       Page Line
10                        ANNA L'HOMMEDIEU                   11   None
11                        JENS KJAEGAARD                     12
12                                                           13   Stipulations
13                                                           14   Page Line            Page Line          Page Line
14                                                           15   None
15                                                           16
16                                                           17   Questions Marked
17                                                           18   Page Line      Page Line                Page Line
18
                                                             19   None
19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25


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                                           Page 38                                               Page 40
 1             MR. OXFORD: Objection to form.          1   the time period that I'm focused on.
 2        A    The question is disturbing or           2             Between January 2012 and August of
 3   unclear. The job of the national office is        3   2015, which department at SKAT was
 4   to audit the various ministries in Denmark.       4   responsible for the processing of claims for
 5             And at the time, the National Audit     5   dividend withholding tax refunds?
 6   Office had so-called Section 9, a Section 9       6        A    It was a department under director
 7   grievance with the internal audit departments     7   Jens SØrensen, who had the responsibility for
 8   of various ministries, which, on behalf of        8   collection, payment, and accounting. And my
 9   the National Audit Office, carried out audits     9   answer here refers to a time period from the
10   of the ministries.                               10   1st of January of '13 until the end period
11             And that's why I had this              11   you referred to earlier.
12   conversation with Lone StrØm where she told      12        Q    I was asking about January of 2012
13   me about the quality of SIR's work.              13   to August of 2015.
14        Q    Did she explain to you for sort of     14             Is there a reason you're answering
15   how long the concern about SIR's work --         15   with respect to January 2013 to August 2015?
16   sorry, that's a badly-phrased question.          16        A    Yes, there's a reason. Yes.
17             Did Ms. StrØm convey whether this      17             As of the first of January of '13
18   concern about SIR's work was a new concern or    18   there was a restructuring, change of the
19   a longstanding concern?                          19   structure of the Ministry.
20        A    It was a concern that had existed      20        Q    And so, from January 2012 to
21   for at least a couple of years.                  21   January 2013, did someone other than Jens
22        Q    Did you discuss with her any           22   SØrensen have supervisory authority over
23   particular audits that SIR had performed or      23   dividend withholding tax refunds?
24   their findings?                                  24        A    Yes, but with the reservation that
25        A    No, I didn't. But generally, the       25   it's eight years back in time. I believe

                                           Page 39                                               Page 41
 1   National Audit Office considered reports          1   that it was a production director, Stefan
 2   prepared by SIR to be difficult to read and       2   Normann, but I'm not quite certain.
 3   to -- to understand.                              3        Q    You said that -- you said that Jens
 4        Q     Did you review any reports from SIR    4   SØrensen had responsibility for collection,
 5   or audit reports from SIR to determine            5   payment, and accounting.
 6   whether you agreed with that conclusion?          6             Is that specifically with respect
 7        A     No, I didn't. That's something         7   to dividend withholding tax, or was that
 8   that doesn't matter in the case.                  8   function broader than just dividend
 9              Because SIR was auditing and           9   withholding tax?
10   working on behalf of the National Audit          10             MR. OXFORD: Objection to form.
11   Office. And if they were not satisfied with      11        A    Jens SØrensen had the
12   the quality of SIR's work, it was, of course,    12   responsibility for the areas mentioned
13   a problem.                                       13   before, and it was a much larger area than
14        Q     I think you answered this question    14   dividend withholding tax.
15   previously, but let me just ask it again.        15        Q    Am I correct that the specific
16              Did you have any conversations with   16   department or unit that was responsible for
17   Peter Loft as part of your transition into       17   the processing of claims for dividend
18   your new role?                                   18   withholding tax refunds in the period January
19        A     No. As I said before, he had left     19   of 2012 to August of 2015 was known as
20   his position several months before.              20   "Accounting 2?"
21        Q     Okay. Between January 2012 and        21        A    I don't remember.
22   August 2015 -- and that's the period I'm         22        Q    Are you familiar with the unit
23   going to focus on for most of these              23   known as "Accounting 2?"
24   questions. So if I don't state that time         24        A    Well, I know that -- I know that
25   limitation, you should understand it to be       25   there was an entity in SKAT that handles


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 1   head of SIR was supposed to be making risk        1   doing during this period of time?
 2   and materiality determinations about which        2        A    Broadly speaking, that he shared
 3   audits to pass on to you as head of the           3   the opinion that the work they were doing was
 4   committee?                                        4   not always very good.
 5              MR. OXFORD: Objection to form.         5        Q    Did he comment on specific audits
 6        A     Yes, that's correct.                   6   that SIR had performed?
 7        Q     And during that time period, Kjeld     7        A    No, I don't remember.
 8   Rasmussen was the head of SIR.                    8        Q    At some point, Mr. Rasmussen was
 9              Is that correct?                       9   let go as the head of SIR.
10        A     Yes, it's correct.                    10             Correct?
11        Q     And is it also correct that you       11        A    Yes. Because a new head of the
12   never spoke with Kjeld Rasmussen during the      12   function was to be hired with the right
13   time that he was head of SIR?                    13   qualifications.
14        A     I was hired on May 12th. I took up    14        Q    When was that?
15   the position on May 12th. There was so many      15        A    It's many years ago, and I don't
16   tasks that I had to look at.                     16   remember it precisely.
17              And during the period, until we had   17        Q    Who replaced Mr. Rasmussen?
18   the new structure, I delegated the               18        A    A new audits manager, head of the
19   chairmanship of the audit committee to the       19   audit function, at the beginning of 2014.
20   finance director. And it's against that          20             And his name was Kurt Wagner.
21   background that -- that's the reason why I       21        Q    When Mr. Wagner began his role, did
22   didn't talk to him, and because Lone StrØm,      22   you meet with him on a regular basis to learn
23   who was the head of the National Audit           23   what SIR was auditing and what it was
24   Office, had told me that Kjeld's                 24   finding?
25   qualifications were not satisfactory to be       25        A    Yes, I did.

                                           Page 71                                              Page 73
 1   the head of SIR.                                  1        Q    Do you know whether Mr. Wagner
 2             And here we have to remember that       2   performed any review of audits that had been
 3   SIR is handling tasks for the National Audit      3   performed by SIR during the time that
 4   Office.                                           4   Mr. Rasmussen was in charge?
 5        Q    So the answer is no, you didn't         5        A    I don't -- I don't know.
 6   speak with Mr. Rasmussen during the time          6        Q    Given the lack of confidence in
 7   period.                                           7   SIR's work, was any review undertaken to
 8             Correct?                                8   determine whether the audits they had
 9        A    Yes, that's correct, and that's the     9   performed had been adequate?
10   answer I made before. But I would like -- I      10        A    Yes. So the National Audit Office
11   would like to give the background for it,        11   reviewed -- which SIR worked for -- made a
12   which I have just done.                          12   report to us. And we made an analysis
13        Q    Who was the finance director to        13   ourselves, and Deloitte, which has a
14   whom you delegated the chairmanship of the       14   worldwide specialty in the field, also
15   audit committee?                                 15   reviewed.
16        A    That was Karten Junker.                16        Q    I apologize. I'm having trouble
17   K-A-R-T-E-N is the first name, and next name     17   understanding that.
18   is J-U-N-K-E-R.                                  18             A determination was made that SIR's
19        Q    Do you know whether Karten Junker      19   work was inadequate in the time period
20   spoke with Mr. Rasmussen?                        20   preceding 2013.
21        A    Yes, I know that he did so. And I      21             Correct?
22   remember having talked to -- with Karten         22        A    After my talk with Lone StrØm, work
23   about Kjeld Rasmussen.                           23   was started to evaluate SIR's work and
24        Q    What did you learn from -- from        24   reports overall. And Deloitte helped us do
25   Karten Junker about the work that SIR was        25   that, as they have strong qualifications and


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 1   says?                                            1   were discussed in this report.
 2        A    It has been read. It says, "Read,      2        Q    As a result of this 2010 audit
 3   18 May 2010," it just says '10 -- 18 May         3   report, a task force was created.
 4   '10 -- and then there's a signature.             4             Is that what you're saying?
 5        Q    Do you recognize that signature,       5        A    Yes, that's correct.
 6   Mr. Brochner?                                    6        Q    When was that task force
 7        A    No, I don't recognize it, actually.    7   established?
 8        Q    So if you go to Page 8 of the          8        A    In 2010.
 9   report?                                          9        Q    And who was part of -- who was on
10             Are you there?                        10   that task force?
11        A    Yes.                                  11        A    Well, as I remember, but it's
12        Q    And I'm going to draw your            12   difficult to remember names as it's a long
13   attention to the paragraph                      13   time ago, but that was several directors with
14   starting "Regnskat 2." R-E-G-N-S-K-A-T 2.       14   the responsibility for the area were members.
15             Do you see that?                      15        Q    And do you --
16        A    Yes.                                  16             MR. OXFORD: Can you let the
17        Q    Okay. And the reference to            17        witness finish his answer and have it
18   "Accounting 2" here, that's the unit that, at   18        translated, please?
19   the time, was in charge of processing refund    19        A    So it's normal practice when you
20   claims for dividend withholding tax.            20   have a report with criticism. And the
21             Is that correct?                      21   director of the area is asked to handle it,
22        A    I didn't work there in 2010, but I    22   and implement the changes that are
23   presume that it was. But I don't know           23   recommended.
24   exactly whether it's --                         24        Q    Did that working group, did its
25        Q    And this report -- I'm sorry?         25   work result in some kind of written report

                                          Page 91                                              Page 93
 1             THE INTERPRETER: No, what he said.     1   about changes to be implemented?
 2        He presumes it was Accounting 2, but he     2        A    Well, it's before my time, but as I
 3        doesn't know for certain.                   3   understand, reporting was made on it.
 4        Q    And the report concludes that          4        Q    To whom was reporting made?
 5   Accounting 2 doesn't carry out checks on         5        A    I assume the then audit committee.
 6   whether the investor is actually a               6        Q    Do you know whether any changes
 7   shareholder in the company.                      7   were implemented as a result of the working
 8             Is that right?                         8   group's report?
 9             MR. OXFORD: Objection to form.         9             MR. OXFORD: Objection to form.
10        A    Well, that's correct.                 10        A    I don't know, but I know that a
11        Q    And it also says that the form is     11   working group had been established, and
12   reviewed just to check whether all the          12   because it was with a view to improving
13   information is included.                        13   the -- these issues, these problems.
14             Correct?                              14        Q    Mr. Brochner, to the best of your
15             MR. OXFORD: Objection to form.        15   knowledge, does what's described in this 2010
16        A    Yes, that's correct.                  16   SIR report accurately describe the process
17        Q    Do you know whether the process       17   for verifying ownership of shares as of
18   that's being described here by SIR changed      18   August of 2015?
19   between 2010 and August of 2015?                19             MR. OXFORD: Objection to the form,
20             MR. OXFORD: Objection.                20        asked and answered. You can answer it
21        A    I don't know. I know that -- I        21        again.
22   don't know, but I know -- I do know that on     22        A    I don't know, yeah, but I would
23   the basis of this audit report, a task force    23   have to have you repeat that question.
24   was established in order to investigate         24        Q    Sure. To the best of your
25   whether the processes could be improved that    25   knowledge, does what is described in this


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 1   2019 SIR report accurately describe the          1   time. At least I understand they were
 2   process for verifying ownership of shares as     2   working -- work was done on bill to improve
 3   of August of 2015?                               3   the interaction interplay between
 4             MR. OXFORD: Objection to the form,     4   applications for refund and --
 5        asked and answered.                         5             THE INTERPRETER: I'm just trying
 6             THE INTERPRETER: Is there a            6        to really check with Mr. Brochner.
 7        question there? To me, it doesn't sound     7        A    Yeah, so the claims for refund and
 8        like a question, yeah.                      8   the reporting of dividends.
 9        A    So this report --                      9        Q    Did that bill become law?
10             MR. OXFORD: I think we need a         10        A    I believe so, in the fall of 2012.
11        break.                                     11        Q    And were any changes made to the
12             THE INTERPRETER: I need a break to    12   process for refunding dividend withholding
13        understand the question so I can           13   tax as a result of that bill becoming law?
14        translate it. So it's probably time to     14        A    The act or the bill supports the
15        do a break and then repeat the question    15   verification in SKAT. So therefore, the
16        when we resume, because I don't            16   processes were enhanced.
17        understand.                                17        Q    How were the processes enhanced?
18             MR. SCHOENFELD: Let's answer this     18        A    That SKAT was not to process claims
19        question and then we can go on a break.    19   for refunds of dividend before they were
20        So Mike, do you want to read the           20   certain that the company had actually
21        question back into the record, please?     21   reported the dividend.
22             (Whereupon the record was read back   22        Q    Any other change to the process?
23        by the reporter.)                          23             MR. OXFORD: Objection to the form.
24             MR. OXFORD: Okay. My objection is     24        A    As I said before, it's before my
25        on the record. Asked and answered. You     25   time. But I presume that the recommendations

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 1        can ask them this question 65 different     1   of the working group were implemented in the
 2        ways. If you can answer it again a          2   best way.
 3        different way, you can answer.              3        Q    This wasn't before -- I apologize.
 4        A    I don't have a basis of answering      4   Please continue.
 5   or giving any comments on that.                  5             We were talking about changes made
 6             MR. OXFORD: Let's take a break.        6   in the fall of 2012 as a result of this bill
 7        Let's give our Madam Interpreter fresh      7   becoming law.
 8        air.                                        8             You were the permanent secretary as
 9             THE INTERPRETER: Are we talking        9   of the fall of 2012.
10        about a SIR report for --                  10             Correct?
11             THE VIDEOGRAPHER: Stand by. The       11        A    Yes, that's correctly understood.
12        time is 10:31 a.m. New York time and       12   But you asked me to give an example of what
13        we're going off the record.                13   had come out of the working group from 2010.
14             (Brief recess taken.)                 14   And there, we had a bill in the fall of 2012.
15             THE VIDEOGRAPHER: Stand by. The       15        Q    Okay. So I want to make sure I
16        time is 10:58 a.m. New York time and       16   have this clear.
17        we're back on record.                      17             As a result of the working group, I
18        Q    Mr. Brochner, apart from forming a    18   asked you to identify concrete changes. And
19   working group, are you able to identify a       19   you identified the bill that became law in
20   single concrete action that was taken by the    20   the fall of 2012.
21   Ministry of Taxation in response to the 2010    21             Correct?
22   SIR report?                                     22        A    But you asked me to give examples
23             MR. OXFORD: Objection to the form.    23   of concrete steps on the basis of -- on the
24        A    So the report and the working         24   background of the working group's
25   group's recommendations are from before my      25   recommendations. And I gave you an example.


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                                         Page 114                                              Page 116
 1        Q    Okay. I am about to transition         1         Q   If I wanted to know what steps, if
 2   into a different area of questions, and we've    2   any, were taken in response to that report,
 3   been going for a while.                          3   who would I ask?
 4             Should we take a somewhat longer       4             MR. OXFORD: Object to the form.
 5   break for dinner on your end and lunch on our    5        You can answer.
 6   end?                                             6         A   I think it's somewhat a special
 7             MR. SCHOENFELD: We can go off the      7   question, but audits and reports are building
 8        record.                                     8   on top of each other. So this report I have
 9             THE VIDEOGRAPHER: Stand by. The        9   in front of me and the -- this report under
10        time is 11:54 a.m. New York time and       10   this tab that you just mentioned, an audit of
11        we're going off the record.                11   dividend and royalty tax from 2012 builds on
12             (Brief recess taken.)                 12   the 2010 report so that you don't have to go
13             THE VIDEOGRAPHER: Stand by. The       13   back and read the 2010 report, is what it
14        time is 12:36 p.m. New York time and       14   says.
15        we're back on record.                      15         Q   Let me ask the question
16        Q    Mr. Brochner, can you turn to         16   differently.
17   Exhibit 3009 in your binder, please?            17             You don't know what was done within
18             MR. SCHOENFELD: Mark this as 3009.    18   the Ministry of Taxation following the 2010
19             (Whereupon the above mentioned was    19   audit report because you didn't arrive until
20        marked for Identification.)                20   May 2012.
21        Q    Are you there, Mr. Brochner?          21             Correct?
22             THE INTERPRETER: Yes, he is.          22             MR. OXFORD: Objection to the form.
23        Q    Would you do me a favor, Ms.          23         A   Yes, it's correct. But as I
24   Gregersen? We're not seeing you in the main     24   mentioned, a working group was set up and it
25   video screen.                                   25   came with some recommendations as a follow-up

                                         Page 115                                              Page 117
 1             Off the record for a second,           1   to the 2010 report.
 2   please?                                          2             And now the internal audit is
 3             THE VIDEOGRAPHER: Stand by. The        3   reviewing that in this report.
 4        time is 12:37 p.m. New York time and        4        Q    Were there more -- excuse me.
 5        we're going off the record.                 5             MR. OXFORD: Alan, can you let him
 6             (Whereupon a discussion was held       6        finish, please?
 7        off the record.)                            7             MR. SCHOENFELD: Sure.
 8             THE VIDEOGRAPHER: Stand by. The        8        A    So here, in this audit of dividend
 9        time is 12:38 p.m. New York time and        9   royalty tax for '12, it says, in the second
10        we're back on record.                      10   bullet, that "the purpose of this report is
11        Q    Mr. Brochner, before I go to          11   to follow up on the 2010 report and the steps
12   Exhibit 3009, you'll recall that we talked      12   otherwise taken."
13   about the 2010 audit report earlier this        13        Q    Okay. Have you seen this document
14   morning?                                        14   before?
15             Do you remember that?                 15        A    I only saw it in the summer after
16        A    Yes, that's correct.                  16   August/September '15.
17        Q    Who would I talk to if I wanted to    17        Q    It's addressed to you as department
18   understand what steps were taken in response    18   chief, correct?
19   to that report?                                 19             Sorry? I didn't hear the answer.
20        A    Are we talking about the report       20   There was a glitch.
21   from 2012 that we have here in front of me?     21        A    That's correct.
22        Q    No, the 2010 report we discussed      22        Q    And it's dated May 30, 2013.
23   earlier, the one addressed to Peter Loft.       23             Is that correct?
24             Do you recall that report?            24        A    Yes, that's correct.
25        A    Yes, I remember.                      25        Q    And the handwritten notation on the


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                                         Page 126                                             Page 128
 1             So the responsibility of management    1             Is that right?
 2   has to address the individual points of          2        A    I don't understand what you are
 3   criticism, and not necessarily agree to every    3   referring to. But on Page 6, the
 4   point.                                           4   third-to-the-last paragraph --
 5         Q   When you first read this report in     5        Q    You testified -- go ahead.
 6   September of 2015, did you inquire as to what    6        A    It states clearly that it's the
 7   steps were taken in May of 2013 to respond to    7   bank scheme that doesn't have sufficient
 8   SIR's criticism?                                 8   control, and it was not on the bank scheme
 9         A   Yes, I did.                            9   that there was fraud.
10         Q   Did you ask why those action plans    10        Q    The last item on the list in the
11   were insufficient to prevent the fraud that     11   table on Page 15 says that "the business
12   was disclosed to you as of the summer of        12   procedures for payment of refunds should
13   2015?                                           13   describe what needs to be verified before the
14             MR. OXFORD: Objection to form.        14   request is met."
15         A   I disagree on the grounds for the     15             Is that right?
16   question. There's nowhere -- there's no         16        A    That's correct. And it's a point
17   place in this report where they mention         17   of criticism with respect to lack of
18   fraud.                                          18   procedures or forms of procedure, but it's
19         Q   The recommendation 3.4 on Page 15     19   not critical. And I refer to the number "3"
20   says that --                                    20   in the column regarding the materiality.
21             MR. OXFORD: You interrupted his       21        Q    Again, if you had received this
22        answer.                                    22   report -- go ahead.
23             MR. SCHOENFELD: I'm sorry?            23        A    I'd like to comment that this
24             MR. OXFORD: He hasn't finished his    24   report is not very critical of the
25        answer. Please let him finish.             25   procedures. There are many other audit

                                         Page 127                                             Page 129
 1        A    So Item 3 states that "SKAT must       1   reports with recommendations.
 2   take a better position or secure itself          2             But the National Audit Office did
 3   better to avoid incorrect payment or             3   not read it as a report with serious
 4   disbursement of dividend withholding tax."       4   criticism and it doesn't say anything about
 5             And that concern, specifically as      5   fraud in the report.
 6   it's stated on Page 6 of the report, it          6        Q    Mr. Brochner, where on Page 6 are
 7   concerns that bank scheme, and not the           7   you pointing for the fact that the criticism
 8   so-called forms scheme. And the fraud took       8   was leveled only with respect to the bank
 9   place on the forms scheme.                       9   scheme and not the form scheme?
10        Q    And that distinction of the form      10             MR. OXFORD: Objection. You can
11   scheme and the fraud scheme is in the basis     11        answer again.
12   of this report.                                 12             THE INTERPRETER: But he couldn't
13             Is that your testimony?               13        hear the question.
14        A    I'm sorry. I couldn't hear what       14             MR. OXFORD: Alan, can you repeat
15   you said.                                       15        the question, please?
16        Q    I said that that distinction          16             THE INTERPRETER: It was completely
17   between the form scheme and the bank scheme     17        blurred.
18   is clear from the face of this report.          18        Q    You reference Page 6 as the basis
19             Is that your testimony?               19   for your understanding that the -- you
20        A    It's not something that I say. It     20   reference Page 6 as the basis for your
21   can be read from Page 6 of the report.          21   understanding that the criticism we were
22        Q    So SIR's report is pretty clear.      22   reviewing refers only to the bank scheme and
23             Correct?                              23   not the form scheme.
24             THE INTERPRETER: So what?             24             Correct?
25        Q    SIR's report is pretty clear.         25        A    Yes, that's correct.


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                                         Page 134                                             Page 136
 1             MR. OXFORD: I'll object to the         1        A    So in the -- in the report from
 2        form, and it misstates the witness'         2   '15, it says in Paragraph 34 that "SKAT needs
 3        testimony. He referred to a specific        3   to protect itself better against wrongful
 4        page and specific paragraphs, not the       4   reimbursement of dividend tax," and that that
 5        whole report.                               5   concerns the bank scheme.
 6        A    So the report is -- on Page 6 of       6             And that appears on Page 6 of the
 7   the report, and the conclusion on Page 6,        7   report.
 8   it's not my reading of it. It's SIR's            8        Q    That's your answer to the question?
 9   conclusion and SIR's thought.                    9        A    Yes.
10        Q    Let's look at Paragraph 76 of the     10        Q    Okay. It's your testimony that you
11   2016 National Audit Office report, which is     11   never -- you didn't receive the 2013 report
12   Exhibit 3008 in your binder.                    12   in 2013.
13             MR. SCHOENFELD: Mark this as 3008.    13             Correct?
14             (Whereupon the above mentioned was    14             MR. OXFORD: Objection, asked and
15        marked for Identification.)                15        answered.
16        Q    So that paragraph, as I understand    16        A    So as I said before, by a
17   it, says that the 2013 audit report dealt       17   regrettable mistake, I did not receive the
18   first and foremost with reimbursement of        18   report. The report was sent according to the
19   dividend tax through the bank program.          19   completely normal procedures.
20             Is that right?                        20             It was sent to the responsible
21        A    It's correct that this is the         21   management in SKAT and to the National
22   conclusion by the National Audit Office. But    22   Office -- Audit Office. And according to
23   when you read the SIR report from 2013 and      23   normal procedure, an action plan was
24   Page 6, that's not the conclusion that's        24   prepared.
25   stated there.                                   25        Q    If you had received the report in

                                         Page 135                                             Page 137
 1        Q    Do you disagree with the conclusion    1   2013, would you have taken additional actions
 2   in the second sentence of this paragraph that    2   with respect to the concerns identified in
 3   says that "the audit report pointed to a         3   the report?
 4   general need for SKAT to protect itself          4             MR. OXFORD: I object to the form
 5   better from wrongful reimbursement of            5        of the question.
 6   dividend tax?"                                   6         A   It's a hypothetical question. As
 7             MR. OXFORD: Objection to the form.     7   the report did not raise particular
 8        You can answer.                             8   criticism, a special criticism, I wouldn't
 9        A    I conclude that's the comment by       9   believe that I would take separate steps or
10   the National Audit Office and their             10   specific steps in response to it.
11   conclusion from the 2013 report.                11             And the National Audit Office read
12        Q    Do you disagree with that             12   the report in the same way.
13   conclusion?                                     13         Q   Let's look at Tab 3027 of your
14        A    I disagree with you presenting it     14   binder, please.
15   as a seriously criticizing report.              15             MR. SCHOENFELD: Mark this as 3027.
16        Q    I'm not presenting it as anything.    16             (Whereupon the above mentioned was
17             I'm asking whether you agree that     17        marked for Identification.)
18   the audit report from 2013 pointed to a         18             THE INTERPRETER: Yes, we have
19   general need for SKAT to protect itself         19        found it, or he has found it.
20   better from wrongful reimbursement of           20         Q   Have you seen this report
21   dividend tax?                                   21   previously?
22             MR. OXFORD: Object to the form.       22         A   Yes.
23        Asked and answered. You've asked the       23         Q   Did you receive this report in
24        witness half a dozen times now, but he     24   2014?
25        can answer again.                          25         A   Yes, I did.


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                                         Page 158                                                       Page 160
 1   have you ever seen written policies and          1                   C E R T I F I C A T E
 2   procedures for handling dividend withholding     2             I, MICHAEL FRIEDMAN, a Certified Court
 3   tax refund applications?                         3   Reporter and Notary Public, qualified in and for
 4        A    I don't recall. But I remember         4   the State of New Jersey do hereby certify that
 5   that the formal verification steps in            5   prior to the commencement of the examination JENS
 6   connection with withholding tax refunds were     6   BROCHNER was duly sworn by me to testify to the
 7   written down as I recall it -- yeah, were        7   truth the whole truth and nothing but the truth.
 8   written down.                                    8             I DO FURTHER CERTIFY that the foregoing
 9             MR. SCHOENFELD: Okay. Let's take       9   is a true and accurate transcript of the testimony
10        a short break. I may be done. Let's        10   as taken stenographically by and before me at the
11        come back in five minutes.                 11   time, place and on the date hereinbefore set forth.
12             MR. OXFORD: That's fine. Thanks.      12             I DO FURTHER certify that I am neither a
13             THE VIDEOGRAPHER: Stand by. The       13   relative of nor employee nor attorney nor counsel
14        time is 3:16 p.m. New York time and        14   for any of the parties to this action, and that I
15        we're going off the record.                15   am neither a relative nor employee of such attorney
16             (Brief recess taken.)                 16   or counsel, and that I am not financially
17             THE VIDEOGRAPHER: Stand by. The       17   interested in the action.
18        time is 3:22 p.m. New York time and        18
19        we're back on record.                      19
20             MR. SCHOENFELD: Mr. Brochner, I       20
21        have no further questions for you, so I    21                  ____________________________
22        thank you for your time. And I thank       22                  MICHAEL FRIEDMAN, CCR of the
23        you, Madam Translator, for your efforts    23                  State of New Jersey
24        today as well.                             24                  License No: 30XI00228600
25             I don't know if other defendants      25                  Date: May 1, 2021


                                         Page 159                                                       Page 161
 1       have questions for the witness.              1                        LAWYER'S NOTES
 2             THE INTERPRETER: You're welcome.       2   PAGE    LINE
 3       We say both of us.                           3   ____    ____     ___________________________________
 4             MR. SCHOENFELD: Going once.            4   ____    ____     ___________________________________
 5             MR. OXFORD: Going twice, going         5   ____    ____     ___________________________________
 6       three times.                                 6   ____    ____     ___________________________________
 7             THE VIDEOGRAPHER: Stand by. The        7   ____    ____     ___________________________________
 8       time is 3:23 p.m. and we're going off        8   ____    ____     ___________________________________
 9       the record.                                  9   ____    ____     ___________________________________
10             THE COURT REPORTER: Just recapping    10   ____    ____     ___________________________________
11       orders, Hughes Hubbard, two realtime        11   ____    ____     ___________________________________
12       hookups, rough draft, two-day final.        12   ____    ____     ___________________________________
13             Hanamirian, standard delivery copy.   13   ____    ____     ___________________________________
14             Kostelanetz, standard delivery        14   ____    ____     ___________________________________
15       copy.                                       15   ____    ____     ___________________________________
16             K&L Gates, rough draft, standard      16   ____    ____     ___________________________________
17       delivery copy.                              17   ____    ____     ___________________________________
18             Wilmer Hale, six realtime hookups,    18   ____    ____     ___________________________________
19       rough draft, standard delivery copy.        19   ____    ____     ___________________________________
20             Binder & Schwartz, one realtime       20   ____    ____     ___________________________________
21       hookup, rough draft, standard delivery      21   ____    ____     ___________________________________
22       copy.                                       22   ____    ____     ___________________________________
23             Dewey Pegno, rough draft, standard    23   ____    ____     ___________________________________
24       delivery copy.                              24   ____    ____     ___________________________________
25             (Witness was excused.)                25   ____    ____     ___________________________________



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                                               Page 162                                             Page 164
 1                 DEPOSITION ERRATA SHEET                 1                  DEPOSITION ERRATA SHEET
 2                                                         2   Page No._____Line No._____Change to:__________
 3                                                         3   ______________________________________________
 4                                                         4   Reason for change:____________________________
 5                                                         5   Page No._____Line No._____Change to:__________
 6                                                         6   ______________________________________________
 7          DECLARATION UNDER PENALTY OF PERJURY           7   Reason for change:____________________________
 8            I declare under penalty of perjury           8   Page No._____Line No._____Change to:__________
 9      that I have read the entire transcript of          9   ______________________________________________
10      my Deposition taken in the captioned matter       10   Reason for change:____________________________
11      or the same has been read to me, and              11   Page No._____Line No._____Change to:__________
12      the same is true and accurate, save and           12   ______________________________________________
13      except for changes and/or corrections, if         13   Reason for change:____________________________
14      any, as indicated by me on the DEPOSITION         14   Page No._____Line No._____Change to:__________
15      ERRATA SHEET hereof, with the understanding       15   ______________________________________________
16      that I offer these changes as if still under      16   Reason for change:____________________________
17      oath.                                             17   Page No._____Line No._____Change to:__________
18                                                        18   ______________________________________________
19                                                        19   Reason for change:____________________________
20                                                        20   Page No._____Line No._____Change to:__________
21              Signed on the _______ day of              21   ______________________________________________
22                ________________, 20____                22   Reason for change:____________________________
23                                                        23
24            ___________________________________         24   SIGNATURE:__________________DATE:_____________
25                      JENS BROCHNER                     25                            JENS BROCHNER

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 1                  DEPOSITION ERRATA SHEET
 2   Page No._____Line No._____Change to:__________
 3   ______________________________________________
 4   Reason for change:____________________________
 5   Page No._____Line No._____Change to:__________
 6   ______________________________________________
 7   Reason for change:____________________________
 8   Page No._____Line No._____Change to:__________
 9   ______________________________________________
10   Reason for change:____________________________
11   Page No._____Line No._____Change to:__________
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18   ______________________________________________
19   Reason for change:____________________________
20   Page No._____Line No._____Change to:__________
21   ______________________________________________
22   Reason for change:____________________________
23
24   SIGNATURE:__________________DATE:_____________
25                            JENS BROCHNER


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